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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             CENTRAL DIVISION

RICHARD GILLIAM,                                                            PLAINTIFF
#209415

v.                               4:19CV00704-BRW-JTK

DUSTIN DEVORE, et al.                                                   DEFENDANTS

                                         ORDER

       The Court has received proposed findings and recommendations from United

States Magistrate Judge Jerome T. Kearney. After a review of those proposed findings

and recommendations, and the timely objections received thereto, as well as a de novo

review of the record, the Court adopts them in their entirety.

       Accordingly, Defendants’ Motion for Summary Judgment (Doc. No. 32) is

GRANTED, and Plaintiff’s Complaint is DISMISSED with prejudice.

       An appropriate Judgment shall accompany this Order.

       IT IS SO ORDERED this 7th day of October, 2020.



                                          Billy Roy Wilson ______________
                                          UNITED STATES DISTRICT JUDGE




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